                IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


LAURA MULLEN, individually and on           Case No. 1:18-cv-1465
behalf of all others similarly situated,
                                            Honorable Matthew F. Kennelly
       Plaintiff,

v.

GLV, INC., d/b/a SPORTS
PERFORMANCE VOLLEYBALL CLUB
and GREAT LAKES CENTER, an Illinois
corporation, RICKY BUTLER, an individual,
and CHERYL BUTLER, an individual,

       Defendants.


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       Plaintiff Laura Mullen is the parent of two daughters who sent her kids to be coached at

the volleyball club run by Defendants GLV, Inc. (“Sports Performance” or “GLV”), Great Lakes

Center, and Ricky and Cheryl Butler (“Rick” and “Cheryl,” to avoid confusion). Rick, the head

coach of Sports Performance, sexually abused at least six players when he was their coach in the

1980s, and when they were teenagers. Years later—then adults—the women stepped forward.

Professional organizations in youth volleyball went so far as to ban Rick for life. The

Department of Children and Family Services found that Rick had unprotected sex with the

players when they were sixteen and seventeen, and found him a risk to minors. For their part,

Rick and Cheryl have denied the allegations, and still do. After months of investigation, Plaintiff

and her pro bono counsel sued the club and its principals Rick and Cheryl, arguing, among other

things, that they had defrauded her and a Class of parent-customers by failing to disclose—and

vociferously denying—the fact that Rick had systematically raped minors in his care.

       After the Class was adversarially certified, the Court granted summary judgment to

Defendants. As relevant here, the Court held that (1) no jury could reasonably find that

Defendants did not believe that Rick was an “extremely qualified” coach, which was the only

actionable representation by Defendants, and (2) against Plaintiff only, that news coverage of the

allegations against Rick—which Plaintiff agreed that she’d seen—made it impossible that

Plaintiff relied on Defendants’ representations.

       Defendants now move to sanction Plaintiff and every attorney who has ever appeared in

this case. Across a fifty-page motion, Defendants lash out at nearly everything that has happened

in the action since day one—except the truth of the allegations against Rick. Plaintiff endeavors

below to distill and respond to the arguments against Defendants, which are broadly as follows:

(1) that Plaintiff lied to the Court by saying that she would not have paid money to Defendants if




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she’d known the truth, (2) that, somehow setting aside the truth of the allegations, Plaintiff

improperly sought to harm Rick’s and the club’s reputation and finances, and (3) that Plaintiff’s

and her counsel’s conduct in the litigation was sanctionably aggressive.

          None of these arguments, nor the dozens of sub-arguments and accusations strewn

throughout Defendants’ brief, have an ounce of merit. Mullen has been clear from the moment

the complaint was filed that she had seen some of the news coverage about Rick. The point of

the case, which she has also been clear about, is that the news stories weren’t enough. Rick and

the other Defendants had to tell parents who were considering enrolling their kids at Rick’s club

that the allegations against him—that he had raped the players entrusted to his care when they

were children—were true. If she’d known that, rather than read a news story about the

“allegations,” she says she would not have enrolled her kids there. (Complaint (“Compl.”), dkt. 1

¶ 176.)

          The Court didn’t ultimately agree, for a variety of reasons, including that Plaintiff let one

of her daughters attend the club in 2018 after the complaint was filed. But arguing—as

Defendants do now—that the 2018 event renders the case a sham rests on a mischaracterization

of what the event was. It was a summer league for Plaintiff’s daughter’s (“J.M.”) high school

team, with her high school coaches, that used Defendants’ building. It had nothing to do with

Rick, Cheryl, or any coach that worked at GLV. Plaintiff’s inability to get away from Defendants

is an unfortunate fact of being involved in elite, youth volleyball in this part of Illinois. It does

not mean that she didn’t care about what she had learned about Rick.

          Defendants’ other arguments make less sense. This was primarily a fraud case, claiming

that Defendants’ reputation as a safe place to send your child was unmerited because it was run

by a man that had a history of raping teenage players under his care. It was unavoidable and,




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really, part and parcel of the claims, that Defendants’ reputations would be damaged. Moreover,

as a settlement offer that Plaintiff tendered to Defendants made clear, Plaintiff and her counsel

have never reached beyond what could be achieved in the suit. They have, however, litigated the

case with fervor. This is not sanctionable.

       Even given the space they might need to do so, Defendants do not come close to meeting

the “high burden” to show that Plaintiff or her counsel did anything improper in this case. See

Lundeen v. Minemyer, No. 09 C 3820, 2010 WL 5418896, at *3 (N.D. Ill. Dec. 17, 2010). And it

is Plaintiff’s overriding concern that what Defendants are doing here is a page from the same

playbook they have always run when confronted with the truth about Rick: to obfuscate, to

confuse, and to mislead the public about what he did. Throughout their motion, Defendants

assert—in fully-capitalized headers, in the text, and more than fifty times—that the allegations of

the complaint are false. But when it comes down to it, Defendants work remarkably hard to

avoid so much as a brush with any of the stories of Rick’s victims.

       That’s because, as this Court has repeatedly made clear, the truth of Rick’s multi-year

sexual abuse of the minors entrusted to his care has not been adjudicated. Defendants have

worked incredibly hard to make sure that it was not. The record must remain absolutely, crystal

clear: Rick Butler has yet to answer a page of discovery on the truth of the sexual abuse

allegations against him, and the Court has never called them false. Defendants’ motion is yet

another flare that Defendants have shot to draw off the search for truth. It should be denied.

I.     Defendants’ motion for sanctions is premised on an ongoing, fundamental
       misunderstanding about Plaintiff’s legal argument.
       Plaintiff has been clear about her theory of the case, and the facts supporting it, from the

beginning. Defendants strongly disagree with this theory of the case. The Court ultimately




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disagreed with it, too. But that does not mean that Plaintiff misled the Court at any point. That

theory is set forth below.

       For years, the allegations against Rick Butler have been lingering on the fringes of the

world of elite, youth volleyball. (Compl., dkt. 1 ¶ 1.) But what has been public have been the

“allegations” against Rick, at all times accompanied by Rick’s and Cheryl’s full-throated denials

and efforts to muddy the record, from the merely false—his continued insistence that the victims

were eighteen—to the active threats to silence accusers. (Id. ¶ 2.)

       The public information was and is not, in Plaintiff’s view, a substitute for a recounting of

the truth. Instead, all of the facts stated in the news stories were carefully couched as

“allegations,” with Rick’s denials. (See Plaintiff’s Response to Defendants’ Statement of Facts

(“Pl.’s Resp. to SOF”), dkt. 171-1 ¶ 55 (discussing ESPN’s 2015 Outside the Lines episode,

which referenced the allegations in broad terms and included Rick’s false assertions at “the

[USAV] hearing that all three women were 18 and the sex had been consensual[,]” and that he

“denies any wrongdoing or illegal activity, nor has he ever been disciplined with the AAU or

charged”); see also id. (discussing New York Daily News article, which included Rick’s false

contention that “they were consensual relationships that began after the women had turned 18-

years-old”); see also id. ¶ 50 (discussing 1995 LA Times article, which included Rick’s statement

that he “denies her allegations and vows to clear his name,” and that “[a] decade later you can

say anything you want about anybody and it’s pretty hard to prove right or wrong,” among other

denials); see also id. ¶ 51 (discussing 1996 “Sex, Lies and Volleyball” article which included

Rick’s assertion that Kay Rogness was improperly behind the revelations, falsely claiming that

the players were eighteen, and describing the allegations as a “witch hunt” and “crazy”). The

Butlers have gone far beyond denying the allegations in the press. The women that Rick abused




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in the 1980s all recount stories of Cheryl attempting to silence them, making disparaging

comments on social media, and even threatening violence against the women or their families.

(See Plaintiff’s Response in Opposition to Defendants’ Motion for Summary Judgment (“Pl.’s

MSJ Resp.”), dkt. 171 at 8–9; Pl.’s Statement of Additional Material Facts (“Pl.’s SOAF”), dkt.

171-2 ¶ 11.)

       What Plaintiff says is the actual truth has been consistent, too, though it remains untested

in the case. (See Amended Summary Judgment Order, dkt. 209 at 6.) Plaintiff relates the full

stories of the minors that Rick abused, as they—now—tell them. Rick lured sixteen-year-old

Sarah Powers-Barnhard to his apartment, under the guise of discussing a “problem on the

team[,]” and then raped her “as she lay motionless in a terrified state.” (Compl., dkt 1 ¶¶ 34–37.)

Rick got sixteen-year-old Beth Rose drunk on vodka, carried her into the bedroom, and raped her

while she was “too drunk and too scared to stop him.” (Id. ¶¶ 56–57.) Rick brought Christine

Tuzi (née Brigman) to his apartment on the pretext of needing to talk about the team when he

raped her; Christine was “paralyzed in fear.” (Id. ¶ 68.). When she was sixteen, Rick raped Julie

Romias (née Bremner), after she resisted and told him she didn’t believe in sex before marriage.

(Id. ¶¶ 94–96.) Rick first raped Jane Doe, after convincing her she had to come to his apartment,

when she was a sophomore in high school. (Id. ¶¶ 104–117.) This was not simply, as the media

stories above might relate, equivocal, “sexual relationships” with underage players. (See Pl.’s

Resp. to SOF, dkt. 171-1 ¶ 55 (Outside the Lines.).) It was rape, without qualification, of minors

by a man years their senior who had coerced them into sex by abusing his position as their

trusted coach, luring them away from other adults, or even their peers, and then cornering them.

(See Pl.’s SOAF, dkt. 171-2 ¶¶ 2–4 (Sarah Powers-Barnhard’s experience, including Sarah’s

declaration); see also id. ¶¶ 5–6 (Christine Tuzi’s experience, including Christine’s declaration);




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see also id. ¶¶ 7–8 (Julie Romas’s experience, including Julie’s declaration); see also id. ¶ 9

(Jane Doe’s experience, including Jane’s declaration); see also id, ¶ 10 (Beth Rose’s experience,

including Beth’s declaration).)

        It was a fair question for Plaintiff to ask: is this something that Rick was legally obligated

to disclose, rather than actively deny, to a parent before she might send her daughter to Rick? Is

this something that Rick misled people about, when he claimed that Sports Performance had

“extremely qualified coaches,” he among them? Is this something that might constitute fraud on

Sports Performance’s consumer base? Perhaps the answer is, under Illinois law, no.1 But these

were fair questions to raise with this litigation.

        They were fair questions to ask even if Plaintiff had been exposed to occasional news

coverage of the story and continued to send her children there. The point was, actually, that

Plaintiff had a perfectly typical experience of the parents sending their children to Sports

Performance: she’d heard the rumors, she’d even seen the stories. (Compl., dkt. 1 ¶ 175 (stating

that Mullen saw links to the stories in June 2017); see generally Pl.’s Resp. to SOF, dkt. 171-1 ¶¶

55–56.)2 But she’d also seen Rick’s and Cheryl’s denials. (See id. ¶¶ 30, 33, 36, 50–51, 55.) And

in light of Rick’s centrality to the volleyball community and the unmatched opportunities that

elite clubs like this provide, Plaintiff put her head in the sand. (See Pl.’s MSJ Resp., dkt. 171 at

11.) Eventually, though, Plaintiff began to see Rick’s dark side in his psychologically abusive

practices towards his players and she began to believe the women.


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         Plaintiff, of course, does not concede this point of law, and is appealing it. There is no law on
point cited by Defendants in their summary judgment motion, and Defendants do not claim that, as a
matter of law, Plaintiff’s theory is sanctionable. Indeed, similar theories are being pressed elsewhere by
former student athletes who were sexually abused, alleging that the entities who knowingly employed the
abusers fraudulently concealed the facts of the abuse. See, e.g., Doe MC-1 v. The Univ. of Michigan et al.,
No. 2:20-cv-10568 (E.D. Mich.).
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         Plaintiff had not heard the stories of Beth Rose or Jane Doe before she had already removed her
daughters from the program. (Pl.’s SOAF, dkt. 171-2 ¶ 32.)


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       Defendants are adamant at persuading the casual reader that the allegations of this

complaint are false. The word appears seventy-two times in their fifty-page memorandum. But

what, exactly, Defendants want to say is false is carefully crafted: even what appear to be broad

swipes at the “core allegations” of the complaint wind up being minutely cabined. (Defendants’

Motion and Memorandum for Sanctions (“Defs.’ Mem.”), dkt. 203 at 16.) The reason for this is

transparent, which is that Defendants want nothing less than an assessment of the “truth” behind

the allegations of this case. Defendants’ campaign to halt discovery, even going so far as to ask

this Court to amend its motion for summary judgment, is indisputable evidence of this.

       Instead, the crux of Defendants’ motion—which winds up being about a page and a half

once the reader gets there—is Mullen’s statement that she would not have sent her daughters to

Sports Performance if she had known that the allegations were true. (Compl., dkt. 1 ¶ 176 (“Had

Plaintiff known the full truth and depth of Butler’s sexual, emotional, and physical abuse, she

would not have allowed her daughters to attend Sports Performance and she would not have paid

fees to Defendants.”); see also Declaration of Laura Mullen (“Mullen Decl.”), dkt. 171–19 ¶ 19

(Plaintiff “would not have paid for any volleyball training from Defendants if [she] had known

that the sexual abuse allegations against Rick Butler were true.”).) By characterizing the Court’s

order on the motion for summary judgment as a judicial finding that Plaintiff knew about the

allegations themselves, Defendants now claim that it’s clear Plaintiff was lying all along.

       But that just isn’t right. Plaintiff has never said she did not know about the allegations.

Plaintiff put that very fact in her complaint. (Compl., dkt. 1 ¶ 175.)

       The legal argument that Plaintiff has advanced throughout the case was that knowing

about the allegations from third-party news stories was not enough to prevent her (and the Class)

from being defrauded. Instead, Plaintiff has argued that Defendants, including Rick and Cheryl,




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were obligated to disclose the truth of the allegations—or at the very least, admit those

allegations were true when confronted—which they have never done. Whatever the Court might

ultimately have made of that argument as a matter of law does not render Plaintiff a liar. Beverly

Gravel, Inc. v. DiDomenico, 908 F.2d 223, 227 (7th Cir. 1990) (“[A] decision to grant summary

judgment is not dispositive of the issue of sanctions.”). Her factual allegations, and the legal

argument they support, have been consistent—and true—throughout the case. (Compl., dkt. 1

¶¶ 175–76; Mullen Decl., dkt. 171-19 ¶ 19.)

       Finally, Defendants quote a piece of the Court’s summary judgment opinion on this point

which does require additional discussion. In Defendants’ material facts in support of summary

judgment—which followed requests to admit served on Plaintiff—Defendants submitted the

asserted “fact” that “[i]n the summer of 2018, Plaintiff’s daughter, J.M., participated in GLV’s

Summer League, which took place at the Great Lakes Center.” (Defendants’ Statement of Facts

“Defs.’ SOF”), dkt. 144-1 ¶ 63.) Plaintiff disputed that fact, as she did in the request to admit,

because what J.M. participated in was the 2018 High School Summer League; that is, “a summer

league through her high school.” (Pl.’s Resp. to SOF, dkt. 171-1 ¶ 63.) This was not a coaching

program provided by Rick or any Sports Performance staff member. (Declaration of Laura

Mullen in Opp. to Defs.’ Mot. for Sanctions, attached hereto as Exhibit 1 ¶ 5.) J.M. was playing

on her high school team, with her high school coaches. (Id. ¶ 4.) The games just occurred at the

Great Lakes Center’s physical plant. (Id. ¶ 6.) She did not pay any money directly to Sports

Performance, except a registration fee between $25 and $40, which was paid to J.M.’s high

school coach. (Id. ¶ 7.) To the extent that Plaintiff was unable to avoid Great Lakes Center and




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keep her kids involved in high-level youth volleyball, it in no way contradicts the fundamental

allegations of her case.3

        Defendants also assert that various other allegations by Plaintiff are false. Defendants

insist that Plaintiff’s description of her oldest daughter’s, A.M.’s, experience at Sports

Performance is false. (See Defs.’ Mem., dkt. 203 at 21–24.) Plaintiff alleged that Rick was

abusive to A.M. by making comments about her weight and appearance, which caused A.M. to

lose weight and develop self-esteem issues. (Compl., dkt. 1 ¶ 171.) She produced a declaration to

the same effect. (Mullen Decl., dkt. 171–19 ¶ 6.) In the face of Plaintiff’s sworn declaration,

Defendants produce a series of e-mails between Rick and Plaintiff discussing A.M.’s challenges

as proof positive that, actually, Rick was not abusive toward A.M. (See Def.’s Mem. at 21.)

None of this contradicts what Plaintiff said. Moreover, Defendants would have been welcome to

produce this evidence at trial to undermine Plaintiff’s credibility—if in fact they thought it

would—but Defendants’ campaign to limit discovery and decisions on the merits have ensured

that, as yet, that has not happened.

        Defendants claim that Plaintiff’s allegation that “for over three decades, Rick [Butler] has

used his position of power to sexually abuse no fewer than six underage teenage girls, and likely

many more” is false. (Compl., dkt. 1 ¶ 1.) Defendants insist this is not true, in that Rick used his

position of power to abuse women through the 1980s, and then—as far as the facts Plaintiff

alleges in the complaint—stopped. The question of timing is quite clear from the complaint,

which states in significant detail the who, what, where, and when of Rick’s conduct as it is

currently known. (Id. ¶¶ 21–117.) And it is fair for Plaintiff to allege that, on what she knows


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         Even if this somehow did render Plaintiff’s allegation in her complaint false—it doesn’t—it
wasn’t false at the time of filing. CS Wang & Assoc. v. Wells Fargo Bank, N.A., 305 F. Supp. 3d 864, 895
(N.D. Ill. 2018) (“When weighing Rule 11 sanctions, the focus is on what counsel knew at the time he
filed the complaint.”).


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about the allegations against Rick, that he did not stop. Beverly Gravel, 908 F.2d at 226 (“It is

not unreasonable to file a complaint so as to obtain the right to conduct discovery where that

discovery is necessary to establish a claim.”); see also Rebecca Campbell Ph. D et al., Serial

Sexual Assaults: A Longitudinal Examination of Offending Patterns Using DNA Evidence

(March 2019), OFFICE OF JUSTICE PROGRAMS’ NATIONAL CRIMINAL JUSTICE REFERENCE

SERVICE, available at https://www.ncjrs.gov/pdffiles1/nij/grants/252707.pdf, at 1 (summarizing

literature, finding that perpetrators of sexual assault are likely to re-offend over long time

periods). As above, Plaintiff would welcome discovery (or an immediate evidentiary hearing) on

the truth or falsity of this claim.

        In a single paragraph, buried in the middle of their motion, Defendants do actually attack

the “core allegations” of the complaint directly. That is, they do claim that the allegations against

Rick are not truthful. (Defs.’ Mem., dkt. 203 at 29 (“Edelson PC investigated the accusations for

months before bringing this lawsuit, and they contend that the Complaint represents the ‘truthful’

stories of abuse against Rick Butler. Yet, the record clearly establishes that this simply is not

true.”).) It is jaw-dropping that Defendants are prepared to advance this claim given the

procedural record. (See Court’s Order Denying Mot. to Correct Summ. J. Order, dkt. 208.)

Defendants have moved mountains to avoid a determination of whether these allegations are

true, much less disproven them. Kichatay v. Nw. Home Care, Inc., 327 F.R.D. 204, 205 (N.D. Ill.

2018) (“[D]efendants’ basis for sanctions – that plaintiff’s [] claims were false – is nothing more

than an attorney’s assertion in a motion. That’s neither proof no[r] evidence.”). Defendants’

multi-pronged efforts to re-write the history of this case—to turn it into some kind of vindication

for Rick Butler—is an offense to this Court. The motion for sanctions should be denied. The




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Court should hold an evidentiary hearing on any of the foregoing in which a question lingers in

its mind.

II.     Plaintiff’s “purpose” in the suit was proper.
        The allegations of the suit are, as described above, not false—and not contradicted by

Defendants. Defendants advance a seemingly-independent argument that the suit was filed for an

improper purpose and is sanctionable for that reason. (Defs.’ Mem., dkt. 203 at 10–25.) The

improper purpose inquiry is independent from the Rule 11 obligation not to file a frivolous suit,

but they are closely related concepts. Vollmer v. Selden, 350 F.3d 656, 660 (7th Cir. 2003)

(“Certainly, it is not improper to file a non-frivolous claim in the hope of getting paid.”); see also

Carr v. Tillery, 591 F.3d 909, 920 (7th Cir. 2010) (“Although the suit is not frivolous, or at least

not utterly so, it is so lacking in merit . . . that its pursuit by the plaintiff indicates a motive to

harass.”). Improper purposes are non-exhaustively defined in the Rule as to “harass, cause

unnecessary delay, or needlessly increase the cost of litigation[.]” Fed. R. Civ. P. 11(b)(1). The

Court “determine[s] whether a party’s conduct was imposed for an improper purpose by an

objective standard.” Pac. Dunlop Holdings, Inc. v. Barosh, 22 F.3d 113, 118 (7th Cir. 1994).

        Distilling Defendants’ argument on “improper purpose” to its core, Defendants contend

that the suit was filed for an improper purpose because it was intended not to win a fraud or

Illinois Physical Fitness Services Act claim for the Class, but to harm the Butlers reputationally

and financially, and ultimately, “get [Rick] away from his prey” by driving him from the sport of

volleyball. (See Defs.’ Mem., dkt. 203 at 43; Exhibit 5 to Defs.’ Mem, dkt. 203-5 at 4.) (The

facts don’t bear this out, as discussed below, but Plaintiff takes the assertion at face value for

now.) All sanctions assessments are, by their nature, highly fact-bound to the claims in the case.

Divane v. Krull Elec. Co., 200 F.3d 1020, 1025, 1028 (7th Cir. 1999) (“The decision to impose

sanctions is left to the discretion of the trial court in light of the available evidence[,]” and “[t]he


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application of Rule 11 to the facts and circumstances of a particular case is an exercise of the

trial court’s discretion, which [is] reviewed for abuse of discretion.”).

       In a case which had a good-faith basis to allege that Defendants were defrauding Plaintiff

and the Class by withholding the truth of Rick Butler’s sexual abuse of minors, it just is not

outside the bounds for Defendants to incur reputational and financial damage. That is, in a sense,

the point: the gravamen of the suit is that Defendants are withholding information that should

have diminished the value of their services in the eyes of consumers, and should have damaged

their reputation as “extremely qualified” coaches. For that reason, they owe the Class the money

paid to them. The Court cannot allow a defendant to turn any unsuccessful, but nonfrivolous,

fraud suit into a sanctionable offense because it damaged their reputation or was calculated to

injure them. The inquiry collapses in such a case. Mars Steel Corp. v. Cont’l Bank N.A., 880 F.2d

928, 932 (7th Cir. 1989) (“Rule 11 is not a fee-shifting statute in the sense that the loser pays.”).

Put another way, where a plaintiff does not attempt to reach beyond what can be achieved with

the well-founded claims in the case, there is no improper purpose to be found there. See F.D.I.C.

v. Maxxam, Inc., 523 F.3d 566, 581 (5th Cir. 2008) (“Doubtless many plaintiffs have multiple

purposes in pursuing litigation. And so long as the merits of their claim, viewed objectively, are

supported by a good-faith belief that the allegations are well founded and not frivolous, the

subjective motivation for pursuing the claim and the multiple purposes are ordinarily of no

moment.”).

       In any event, the facts don’t support any possible story of improper purpose. Defendants’

argument on this point—though scattered throughout the brief—relies almost entirely on forum

posts from Volleytalk.com. (See Defs.’ Mem., dkt. 203 at 10–12, 13–14.) The vast, vast majority

of the statements quoted by Defendants that purportedly demonstrate Plaintiff’s bad motives are




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forum posts on Volleytalk.com that were not made by her, though they are misleadingly

presented by Defendants as if they were. Defendants attempt to explain this sleight of hand by

saying that a “like” constitutes an endorsement. (Id. at 11 n.3.)4 Setting aside this questionable

proposition, Defendants’ quotes from these posts deliberately elide whether they are statements

by Plaintiff or by some other anonymous user of the forum. This tactic is so endemic to the brief

that Plaintiff cannot effectively respond here; instead, in the event the Court wishes to delve into

this issue, Plaintiff has attached an annotated version of the brief that identifies when a particular

quote is in fact being made by some other username. (See Annotated Brief (“Annotated Br.”),

attached hereto as Exhibit 2.) The handful of quotes that are actually from Mullen do not

demonstrate that anyone used this lawsuit for any purportedly “improper” purpose.

         Moreover, Defendants have no evidence that Plaintiff ever reached beyond what could be

fairly achieved with the lawsuit. The record demonstrates the opposite. When Plaintiff was

required by the Court to tender a settlement demand to Defendants, she proposed a framework

that exactly tracked her claims: that parents should be permitted to make the choice about doing

business with Sports Performance with full knowledge of the facts. She proposed that the Parties

submit to a single-issue arbitration on the extent to which Rick had inappropriate sexual contacts

with or made sexual advances on players while they were participants at Sports Performance.

(See Letter from Jay Edelson to Danielle D’Ambrose, attached hereto as Exhibit 3 at 6.) The

arbitrator would take evidence and make findings of fact. (Id.) Those findings would be

distributed to the Class, and—if the arbitrator found that there were inappropriate sexual



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        Defendants justify this by claiming Plaintiff’s counsel did the same thing in arguing that the Butler’s and
Defendants’ coaches’ liking and sharing of posts about opting out of the Class sent a message of approval that Class
members should have opted out. (See Plaintiff’s Amended Motion and Memorandum for Sanctions, dkt. 143 at 14.)
The Butlers’ choice to particularly signal approval of a post, for the purpose of making that approval clear to a wider
audience, is a very different point than saying anything someone “likes”—and does so anonymously, unlike the
Butlers—is as good as something they said.


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contacts—Class Members could submit a claim form in which they would be required to aver

that they would not have paid money to Sports Performance if they had known the truth. (Id. at

7.) When it came down to it, what Plaintiff sought in the suit was precisely in line with what she

had alleged. Defendants’ motion has demonstrated no sanctionable, improper purpose.

III.   Defendants have stated no sanctions argument based on “irrelevant” material.
       Defendants take a broad swipe against “50 [p]ages” of the complaint, claiming that it

contains “[i]rrelevant and [s]alacious” material. (Defs.’ Mem., dkt. 203 at 17–20.) It is less than

clear whether Defendants consider this an independent basis for sanctions or more evidence that

the claim was filed for an “improper purpose[;]” in any event, no law is cited for the point.

Plaintiff has identified few instances of sanctions being imposed for irrelevant material in a

complaint, at least where the charge of irrelevance was not levelled with the credible charge that

the allegations were false. E.g., Matter of Generes, 69 F.3d 821, 826 (7th Cir. 1995) (affirming

sanctions where “[party] used these proceedings as a vehicle for making serious and scandalous

allegations which are totally bereft of any basis in fact or law”). In any event, at least one clear

floor is Rule 12(f): an allegation that would survive a Rule 12(f) motion—which Defendants did

not file—could not, correspondingly, be sanctionably irrelevant or scandalous. See Blankenship

v. Pushpin Holdings, LLC, 157 F. Supp. 3d 788, 796 (N.D. Ill. 2016) (“A district court may

strike an allegation as scandalous when it ‘bears no possible relation to the controversy,’ or when

the allegations are ‘devoid of any factual basis.’) (quoting Talbot v. Robert Matthews Distrib.

Co., 961 F.2d 654, 664–65 (7th Cir. 1992)).

       All of the facts alleged are related to the controversy. They detail Rick’s history of sexual

and psychological abuse of players, including his and Cheryl’s multi-decade campaign of denials

and obfuscation. Defendants’ misapprehension of these allegations as “irrelevant to the time

period” is premised on the same misunderstanding of Plaintiff’s argument discussed above. (See


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Defs.’ Mem., dkt. 203 at 18–19.) Defendants take issue with everything from the headers in the

complaint to the allegations that Rick was banned by multiple professional organizations. (Id. at

19–20.)5 Certainly these are related to the controversy sufficient to be discussed in this

complaint. With no effort to apply law to fact, Defendants’ brief does little more than make clear

that they do not like a lot of things that Plaintiff said in the document. Defendants have not

shown that this is a dispute proper for a sanctions motion, much less that Plaintiff should be

sanctioned. Cartwright v. Cooney, 788 F. Supp. 2d 744, 755 (N.D. Ill. 2011) (“Rule 11 should

not be used as ‘a battleground for satellite controversies wherein, in effect, the tail would wag the

dog, potentially diverting judicial resources from the prompt disposition of the merits of

controversies.’”) (quoting Harlyn Sales Corp. Profit Sharing Plan v. Kemper Financial Servs.,

Inc., 9 F.3d 1263, 1269 (7th Cir. 1993)). Defendants’ motion should be denied.

IV.     Plaintiff should not be sanctioned for “harassing” Defendants.
        Defendants claim, over a number of sections of the brief, that Plaintiff harassed them

after the suit was filed. (See Defs.’ Mem., dkt. 203 at 13–15.) The support for this argument is

largely a series of Volleytalk posts that are, again, not Mullen. (See Annotated Br. at 13–15.) For

good measure, Defendants do include at least one quote from Mullen responding to a press

release by defense counsel, which evidences no harassment at all. (See Defs.’ Mem., dkt. 203 at

14.) Defendants then claim that Mullen was mean to the Sports Performance staff and team at a




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         Defendants leave no rock unthrown, going so far as to produce alleged photos of Christine Tuzi
with Rick after Plaintiff alleged that Rick had no further contact with Christine after her abortion in 1987.
(See Defs.’ Mem., dkt. 203 at 18.) Plaintiff does not know what to make of this—having been deprived of
any discovery on Rick’s relationship with Christine—but even if Defendants were absolutely right that
this turned out to be incorrect, it is not sanctionable. In re Dairy Farmers of Am., Inc., 80 F. Supp. 3d 838,
861 (N.D. Ill. 2015) (“[A]lthough [defendant] highlights several factual inconsistencies between certain
of Plaintiffs’ allegations and specific bits of evidence, those inconsistencies are overshadowed by the
colorable specter of wrongdoing that arose from [defendant’s conduct.]”)


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competition. (Id. at 14–15.) Defendants have not explained what this has to do with anything, nor

have they shown why Plaintiff should, or could be, sanctioned for it.6

V.      Defendants have zero explanation or authority for why counsel’s litigation conduct
        is sanctionable.

        Over another twelve pages of their motion, Defendants seek to sanction Plaintiff’s

counsel for advocating for their client and setting sanctions “traps” for them. Defendants

complain that (1) Plaintiff’s counsel repeatedly advised the Court that Defendants were

impermissibly communicating with the Class (id. at 29–34), (2) counsel was a difficult opponent

in their efforts to obtain discovery from Defendants (id. at 34–37), (3) counsel asserted that Rick

was transferring assets out of the country (id. at 37–38), and (4) counsel answered discovery in

bad faith (id. at 38–41). To the extent that any of this is the province of a post-judgment

sanctions motion, these arguments are meritless.

        As to the first contention, Defendants were impermissibly communicating with the Class,

which this Court has now held twice. Mullen v. GLV, Inc., 334 F.R.D. 656, 661–63 (N.D. Ill.

2020), reconsideration denied, No. 18 C 1465, 2020 WL 5630454 (N.D. Ill. Sept. 20, 2020).

Defendants’ continuing campaign to distort the allegations of this complaint (and, ultimately,

encourage Class members to opt out) was exactly what Defendants had always done when

confronted with the allegations against Rick; Plaintiff’s counsel would not stand for it in

litigation premised on that very conduct. Moreover, after the Court granted Defendants’ motion

for summary judgment and gave Plaintiff the opportunity to substitute a new Class

representative, Defendants continued to misleadingly communicate with the Class and

discourage another representative from stepping forward. They did this through comments to the


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        Plaintiff disputes these facts, for what it is worth, but she is not going to engage in a battle of
declarations on a subject that is self-evidently beneath the Court’s notice. Plaintiff will be happy to
provide testimony on this subject if the Court desires it.


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press and, regrettably, counsel’s Facebook page. (Plaintiff’s Status Report (“Status Report”), dkt.

195.)7 Bringing this to the Court’s attention is not sanctionable.

        Second, Plaintiff’s counsel makes no apology for aggressively pursuing discovery,

quickly running to ground Defendants’ efforts to hide discoverable information, and demanding

that Defendants substantiate their claims that the allegations of the complaint were false. (Defs.’

Mem., dkt. 203 at 34–37.) That Plaintiff’s counsel gave no quarter in this litigation is, no doubt,

true. Plaintiff’s counsel brought this case pro bono, but give to it all the effort and zeal that they

give to their paid work. How that might be sanctionable is unexplained and unexplainable. See

Byrne v. Bd. of Educ., Sch. Dist. of W. Allis-W. Milwaukee, 741 F. Supp. 167, 171 (E.D. Wis.

1990) (“Rule 11 should not be applied to discourage vigorous . . . legal arguments.”). In any

event, this is just the type of “satellite controvers[y]” that is not deserving even of the attention

that Defendants now insist the Court pay to it. See Cartwright, 788 F. Supp. 2d at 755.

        Third, Defendants simply say that Plaintiff’s counsel’s declaration about the risk of

Rick’s transferring assets was false, which, again, is not a colorable basis for sanctions. See

Kichatay, 327 F.R.D. at 205 (“[N]othing more than an attorney’s assertion in a motion.”).

        Finally, Defendants have decided that Plaintiff’s responses to discovery—which she

tendered more a year and a half ago—were sanctionable. Defendants never brought this to the

Court’s attention when discovery was actually taking place, and cannot try to litigate the issue

now. Cooke v. Jackson Nat’l Life Ins. Co., 919 F.3d 1024, 1029 (7th Cir.), cert. denied, 140 S.

Ct. 134 (2019) (“Yet [Plaintiff] does not contend that it requested, or that the district judge

issued, any order requiring [Defendant] to produce additional documents in discovery. Rule 37 is


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         Plaintiff’s counsel took no pleasure in citing counsel’s Facebook page—which was brought to
their attention, not independently investigated—and would not have if it wasn’t clear that counsel’s post
was misleading and being seen by Class members (as Plaintiff explained at the time). (Status Report ¶¶
6–10.)


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irrelevant.”). Plaintiff does not begin to concede the “merits” of these discovery arguments, but

cannot think that is within the proper scope of a post-judgment sanctions motion—nor worth the

Court’s time—to evaluate them.

IV.    Defendants’ motion is procedurally defective and identifies no basis to sanction
       anyone.

       The Seventh Circuit has long stood alone in finding that no Rule 11 motion need be

served prior to seeking sanctions, and that a letter is sufficient because it constitutes “substantial

compliance” with the Rule. McGreal v. Vill. of Orland Park, 928 F.3d 556, 559 (7th Cir. 2019),

cert. denied sub nom. DeRose v. Vill. of Orland Park, Illinois, 140 S. Ct. 956 (2020) (discussing

Seventh Circuit’s unique approach to Rule 11(c)(2)). Why that should be reconsidered is evident

from this case: Defendants did serve two Rule 11 letters, neither of which adequately disclosed

the nearly 100-page (eventually cut to 50-page) farrago of arguments that Defendants intended to

launch. (See Exhibit 20 to Defs.’ Mem, dkt. 203-20.) This does not constitute even “substantial

compliance” with Rule 11 and, moreover, the Seventh Circuit should join the other Circuits in

interpreting Rule 11(c)(2) to require tendering of a motion itself, as the Rule’s text suggests. See

Fed. R. Civ. P. 11(c)(2).

       Finally, Defendants seek to sanction every attorney who has ever filed an appearance in

this case. (See Defs.’ Mem., dkt. 203 at 49–50.) Defendants’ motion, in all of its length, discloses

no basis for this request. Defendants’ motion should be denied.

                                          CONCLUSION

       Laura Mullen and the undersigned can’t, and won’t, deny that they wholeheartedly

believe that Rick Butler should have absolutely nothing to do with youth volleyball. Plaintiff

has—outside of this lawsuit—promoted the truth about Rick on social media, advocated that he

be banned from the Amateur Athletic Union and USA Volleyball, and celebrated when programs



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and sponsors left their association with him. (See id. at 11–12.) Plaintiff’s counsel has, along

with Rick’s victims, testified to the state legislature in favor of changes to the law which,

currently, protects people like Rick. (Id. at 43.) We apologize neither for holding those beliefs

nor for holding Rick to account—well within the bounds of the law—in any appropriate forum.

That does not render this lawsuit sanctionable.

       Rick Butler has been hiding the truth for decades. We are confident that it will come out,

whether through this suit or otherwise. But in the meantime, Defendants have made clear that

they will pull any thread to obfuscate the issue and make it seem as if third parties have blessed

Rick's behavior. They have already started that campaign, mischaracterizing this Court's ruling

on summary judgment as vindication for Rick despite the fact that the truth of the allegations

against him were never tested. Let there be no mistake: they will treat the mere filing of this

motion as yet another arrow in their quiver to mislead parents into entrusting their children to a

sexual predator. This is the same strategy of disinformation that Plaintiff alleged was actionable.

Defendants’ claim that Plaintiff should be sanctioned for bringing this case takes us all the way

through the looking glass. Defendants’ motion should be denied.

                                              Respectfully submitted,

                                              LAURA MULLEN, individually and on behalf of a
                                              class of similarly situated individuals,

Dated: October 5, 2020                        By: /s/ Jay Edelson
                                                 One of Plaintiff’s Attorneys

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